       Case 1-21-42842-nhl            Doc 30      Filed 01/18/22      Entered 01/18/22 11:42:45




WESTERMAN BALL EDERER MILLER
ZUCKER & SHARFSTEIN, LLP
1201 RXR Plaza
Uniondale, New York 11556
(516) 622-9200
John E. Westerman, Esq.
Mickee M. Hennessy, Esq.
Counsel to Kaare Stokdal and Stokdal Construction Corp.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
In re:
                                                                        Chapter 7
Riconda Maintenance, Inc.,
                                                                        Case No.: 21-42842 (NHL)
                             Debtor.
------------------------------------------------------------------X


      NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
    BY WESTERMAN BALL EDERER MILLER ZUCKER & SHARFSTEIN, LLP
   AS COUNSEL TO KAARE STOKDAL AND STOKDAL CONSTRUCTION CORP.

        PLEASE TAKE NOTICE that Westerman Ball Ederer Miller Zucker & Sharfstein, LLP

“WBEMZS”) hereby appears as attorneys for Kaare Stokdal and Stokdal Construction Corp.

(collectively, the “Creditors”). Pursuant to Rules 2002, 9007 and 9010(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), request is hereby made that all pleadings of any

kind, including, without limitation, notices, motions, complaints, and orders, whether written or

oral, formal or informal, however transmitted, whether by mail, hand delivery, telephone,

telegraph, telex or otherwise filed or made, related in any way to the debtor, the debtor’s

property or estate, given or required to be given in this case, and all papers served or required to

be served in this case, be given to and served upon WBEMZS at the office, address and

telephone number set forth below, and that WBEMZS’s name be added to the mailing matrix on

file with the Clerk of the Bankruptcy Court as follows:
      Case 1-21-42842-nhl        Doc 30    Filed 01/18/22     Entered 01/18/22 11:42:45




         WESTERMAN BALL EDERER MILLER ZUCKER & SHARFSTEIN, LLP
                               1201 RXR Plaza
                         Uniondale, New York 11556
                       Attn.: John E. Westerman, Esq.
                    E-mail: jwesterman@westermanllp.com
                       Attn.: Mickee M. Hennessy, Esq.
                    E-mail: mhennessy@westermanllp.com
                         Telephone No. 516/622-9200
                         Facsimile No. 516/622-9212

       PLEASE TAKE FURTHER NOTICE that the foregoing request applies to and

includes not only the notices and papers referenced in the Bankruptcy Rules specified above, but

also includes, without limitation, all orders and notices of any applications, motions, petitions,

pleadings, requests, complaints, or demands, whether formal or informal, whether transmitted or

conveyed by mail, delivery, telephone, facsimile transmission, electronic mail, telex or

otherwise, which affects, or seeks to affect, or may potentially affect in any way, the referenced

debtor or the bankruptcy estate or any property or proceeds in which the referenced debtor or the

bankruptcy estate may claim an interest. Request is further made hereby that in addition to any

method of service required by court order in this case, all documents be served upon WBEMZS

by regular mail or other hard copy delivery, such as federal express or other overnight courier.

       This notice of appearance shall not be interpreted as, or deemed to be, a consent to

electronic service or notice by electronic transmission in this case and, the Creditors and

WBEMZS expressly do not consent to such service unless permitted by Court Order. If, at any

time, the Creditors determine to receive electronic service of documents or notice by electronic

transmission in this case, they will make the appropriate request in writing in accordance with

Bankruptcy Rule 9036.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

Request for Service of Papers (“Notice”) nor any later appearance, pleading, proof of claim,
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claim or suit shall constitute, or be construed as, a waiver of the Creditors’ rights: (a) to have

final orders in non-core matters entered only after de novo review by a District Judge, (b) to trial

by jury in any proceeding so triable in this case or any case, controversy, or proceeding related to

this case, (c) to have the District Court withdraw the reference in any matter subject to

mandatory or discretionary withdrawal, (d) to object to the jurisdiction of this Bankruptcy Court

for any purpose other than with respect to this Notice, (e) to make an election of remedy, (f) to

receive notice and service of hard copies or “paper” documents, as compared to electronic

service, (g) or any other rights, claims, actions, defenses, setoffs, or recoupments as appropriate,

to which the Creditors are or may be entitled, in law or in equity, under any agreements, all of

which rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved by the

Creditors.

Dated: Uniondale, New York
       January 18, 2022
                                              WESTERMAN BALL EDERER MILLER
                                              ZUCKER & SHARFSTEIN, LLP


                                              By:    /s/ Mickee M. Hennessy__
                                                     John E. Westerman, Esq.
                                                     Mickee M. Hennessy, Esq.
                                              1201 RXR Plaza
                                              Uniondale, New York 11556
                                              (516) 622-9200

                                              Counsel to Kaare Stokdal and Stokdal
                                              Construction Corp.




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